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DRAFT                                                       Court Ex. 2A
                                                  Proposed Verdict Sheet

                                  COUNT ONE
          Hobbs Act Robbery Conspiracy (January 2023 to July 2023)

As to Count One, how do you find the defendant TONY CLANTON?

                                  Guilty _________ Not Guilty _________

                                   COUNT TWO
                       Hobbs Act Robbery (June 3, 2023)

As to Count Two, how do you find the defendant TONY CLANTON?

                                  Guilty _________ Not Guilty _________

                                COUNT THREE
         Use of Firearms During a Crime of Violence (June 3, 2023)

If you found the defendant TONY CLANTON guilty as to Count Two, answer the
following question:

As to Count Three, how do you find the defendant TONY CLANTON?

                                  Guilty _________ Not Guilty _________

If you found the defendant TONY CLANTON guilty as to Count Three, answer the
following question:

Do you find that the government proved beyond a reasonable doubt that a
firearm was brandished in connection with the robbery charged in Count Two?

                                  Yes _________      No _________

                                  COUNT FOUR
                 Attempted Hobbs Act Robbery (June 27, 2023)

As to Count Four, how do you find the defendant TONY CLANTON?

                                  Guilty _________ Not Guilty _________

                                  COUNT FIVE
                      Hobbs Act Robbery (July 12, 2023)

As to Count Five, how do you find the defendant TONY CLANTON?

                                  Guilty _________ Not Guilty _________



Signature of Foreperson:

Date:



DRAFT                                                                   DRAFT
